   Fill in this information to identify the case:

Debtor 1                 Jan Carol Little­Washington & Kevin Lynn Washington
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Western District of Washington
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             19­13722
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                        12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             3­1
                                                                                                   Court claim no. (if known): _______________________
 wells fargo bank, n.a.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                             06/01/2021
                                                                                                                                              _____________


                                                                                                  New total payment:
                                                                                                                                               3721.44
                                                                                                                                              $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      8 ____
                                                                    ____ 1 ____
                                                                            2 ____
                                                                                5

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           958.23
                Current escrow payment: $ _________________                                                                       1000.37
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                                page 1

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                     Jan Carol Little­Washington & Kevin Lynn Washington                                             19­13722
      Debtor 1       ________________________________________________________                    Case number (if known) ______________________
                     First Name         Middle Name            Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Jeremy Anthony
      ______________________________________________________________
      Signature
                                                                                             04/21/2021
                                                                                       Date _______________




 Print:______________________________________________________________
        Anthony, Jeremy                                                                 VP Loan Documentation
                                                                                       ____________________________________________________________
        First Name                Middle Name                  Last Name               Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                    Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                                State     ZIP Code



                     800-274-7025                                                       NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                               ____________________________________________________________
                                                                                       Email




Official Form 410S1                                              Notice of Mortgage Payment Change                                               page 2

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                       UNITED STATES BANKRUPTCY COURT
                                                      Western District of Washington


                                                      Chapter 13 No. 19-13722
                                                      Judge: Timothy W. Dore

In re:
Jan Carol Little-Washington & Kevin Lynn Washington
                                             Debtor(s).

                                             CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before April 22, 2021 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                               By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                       Jan Carol Little-Washington & Kevin Lynn Washington
                                       5133 S Orcas St

                                       Seattle WA 98118-2560



                                      By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                       N/A




Debtor’s Attorney:                     By Court's CM/ECF system registered email address
                                       Christina L Henry
                                       Henry & Degraaff, P.S.
                                       787 Maynard Ave S

                                       Seattle WA 98104


                                       By Court's CM/ECF system registered email address
                                      N/A




Trustee:                               By Court's CM/ECF system registered email address
                                       Jason Wilson-Aguilar

                                       600 University St #1300

                                       Seattle WA 98101

                                                              _______________________________________________
                                                              /s/Jeremy Anthony
                                                              VP Loan Documentation
                                                              Wells Fargo Bank, N.A.
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                      Return Mail Operations
                      PO Box 14547
                      Des Moines, IA 50306-4547




   JAN CAROL LITTLE-WASHINGTON
   KEVIN L WASHINGTON
   5133 SOUTH ORCAS STREET
   SEATTLE WA 98118




Important notice about your Escrow Account Disclosure Statement
Now that you’ve been approved for a trial payment plan, we’ve completed an analysis of your escrow account to
ensure we’re collecting sufficient funds for your property tax and insurance premium payments. As a result of this
analysis, we are sending you an Escrow Account Disclosure Statement.

Questions?
Contact your Home Preservation Specialist

Monthly payment amount
You may find the monthly payment amount shown on this statement is not the same as your trial plan payment.
Please make your payments as outlined in your trial payment plan.

Escrow reviews
We’ll continue to review your escrow account yearly to make sure the escrow portion of your total monthly
payment covers your projected property taxes and insurance premiums. Please retain this escrow statement for
your records as it reflects the tax and insurance obligations on your loan.




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                                 Return Mail Operations                                    Escrow Review Statement
                                 PO Box 14547
                                                                                           For informational purposes only
                                 Des Moines, IA 50306-4547
                                                                                           Statement Date:                                    April 15, 2021
                                                                                           Loan number:
                                                                                           Property address:
                                                                                                5133 SOUTH ORCAS STR
                                                                                                SEATTLE WA 98118-2560


                                                                                           Customer Service
                                                                                                 Online                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          JAN CAROL LITTLE-WASHINGTON
                                                                                                 Correspondence                  Hours of operation
          KEVIN L WASHINGTON                                                                     PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          5133 SOUTH ORCAS STREET                                                                Des Moines, IA 50306
          SEATTLE WA 98118                                                                       To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                              $1,383.82
        fall below the required minimum balance. This means there is a shortage.

     • Payments: As of the June 1, 2021 payment, the contractual portion of the
        escrow payment increases.



  Part 1 - Mortgage payment

   New Payment                   The new total payment will be $3,721.44
                                  Previous payment through New payment beginning with
                                  05/01/2021 payment date   the 06/01/2021 payment
                                                                                                         No action required
 Principal and/or interest                 $2,721.07                $2,721.07

 Escrow payment                             $958.23                 $1,000.37               Starting June 1, 2021 the new contractual
 Total payment amount
                                                                                            payment amount will be $3,721.44
                                         $3,679.30                 $3,721.44


                                                                                            Note: Since a bill pay or third-party payment service is
                                                                                            used, please remember to adjust the mortgage payment
                                                                                            amount.




                                                       See Page 2 for additional details.




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                                                                                                                      Loan Number:


    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $10,681.34. For the coming year, we expect the amount paid from escrow to be
$10,620.68.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                   08/19 - 07/20     11/19 - 10/20       08/20 - 04/21   06/21 - 05/22
                                                                                                                      # of               escrow
                                     (Actual)          (Actual)            (Actual)       (Projected)
                                                                                                                     months              amount

Property taxes                          $6,839.18         $7,381.00          $7,320.34       $7,259.68        ÷         12       =          $604.97
Property insurance                      $2,409.00         $2,409.00          $3,361.00       $3,361.00        ÷         12       =          $280.08
Total taxes and insurance               $9,248.18         $9,790.00         $10,681.34      $10,620.68        ÷         12       =         $885.05
Escrow shortage                           $393.31             $0.00          $1,708.74      $1,383.82         ÷         12       =           $115.32

Total escrow                            $9,641.49         $9,790.00         $12,390.08      $12,004.50        ÷         12       =        $1,000.37


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance April, 2022                                  -$1,470.97           table)

Bankruptcy adjustment‡                                              +         $1,857.25

Minimum balance for the escrow account†                              -        $1,770.10           (Calculated as: $885.05 X 2 months)


Escrow shortage                                                     =        -$1,383.82


‡
 This adjustment of $1,857.25, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.




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                                                                                                                              Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from June, 2021 to May, 2022
                                         What we
               Payments to               expect to                                                                   Projected escrow        Balance required
Date             escrow                   pay out         Description                                                    balance              in the account
May 2021                                                  Starting balance                                                 -$585.84                    $2,655.23
Jun 2021            $885.05                    $0.00                                                                        $299.21                    $3,540.28
Jul 2021            $885.05                    $0.00                                                                       $1,184.26                   $4,425.33
Aug 2021            $885.05                    $0.00                                                                      $2,069.31                    $5,310.38
Sep 2021            $885.05                    $0.00                                                                      $2,954.36                    $6,195.43
Oct 2021            $885.05                $3,629.84      KING COUNTY (W)                                                   $209.57                    $3,450.64
Nov 2021            $885.05                    $0.00                                                                       $1,094.62                   $4,335.69
Dec 2021            $885.05                    $0.00                                                                       $1,979.67                   $5,220.74
Jan 2022            $885.05                 $3,361.00     TRAVELERS                                                        -$496.28                    $2,744.79
Feb 2022            $885.05                    $0.00                                                                        $388.77                    $3,629.84
Mar 2022            $885.05                    $0.00                                                                       $1,273.82                   $4,514.89
Apr 2022             $885.05                $3,629.84      KING COUNTY (W)                                               -$1,470.97                $1,770.10
May 2022            $885.05                    $0.00                                                                       -$585.92                    $2,655.15

Totals            $10,620.60              $10,620.68



  Part 4 - Escrow account history
Escrow account activity from August, 2020 to May, 2021
                       Deposits to escrow                   Payments from escrow                                                       Escrow balance
   Date       Actual      Projected Difference          Actual   Projected Difference                Description           Actual         Projected Difference
Aug 2020                                                                                          Starting Balance        -$11,698.96      $4,079.19     -$15,778.15
Aug 2020       $1,336.92       $815.83      $521.09         $0.00            $0.00       $0.00                           -$10,362.04      $4,895.02      -$15,257.06

Sep 2020        $668.46        $815.83      -$147.37        $0.00            $0.00       $0.00                            -$9,693.58       $5,710.85     -$15,404.43

Oct 2020        $668.46        $815.83      -$147.37    $3,690.50     $3,690.50          $0.00    KING COUNTY (W)         -$12,715.62      $2,836.18     -$15,551.80

Nov 2020       $1,336.92       $815.83      $521.09         $0.00            $0.00       $0.00                            -$11,378.70      $3,652.01     -$15,030.71

Dec 2020      $1,366.90        $815.83      $551.07         $0.00            $0.00       $0.00                            -$10,011.80     $4,467.84      -$14,479.64

Jan 2021        $683.45        $815.83     -$132.38     $3,361.00     $2,409.00        $952.00    TRAVELERS               -$12,689.35      $2,874.67     -$15,564.02

Feb 2021          $0.00        $815.83     -$815.83         $0.00            $0.00       $0.00                            -$12,689.35     $3,690.50      -$16,379.85

Mar 2021      $1,366.90        $815.83      $551.07     $3,629.84            $0.00   $3,629.84    KING COUNTY (W)         -$14,952.29     $4,506.33      -$19,458.62

Apr 2021     $13,408.22        $815.83    $12,592.39        $0.00     $3,690.50      -$3,690.50   KING COUNTY (W)          -$1,544.07      $1,631.66      -$3,175.73
(estimate)

May 2021        $958.23        $815.83      $142.40         $0.00            $0.00       $0.00                              -$585.84       $2,447.49      -$3,033.33
(estimate)

Totals        $21,794.46    $8,158.30     $13,636.16    $10,681.34    $9,790.00        $891.34




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